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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                              )
SALVATORE MANCUSO GOM EZ ,                                    )
                                                              )
        P ETITIONER,                                          )   CIVIL A. NO. 20- 2250 (RJL)
                                                              )
V.                                                            )
                                                              )
CHAD F. WOLF, ACTING SECRETARY,                               )
U.S. DEPT . OF HOM ELAND SECURITY,                            )
                                                              )
MATTHEW T. ALBENCE, ACTING DIRECTOR,                          )
 U.S. IM M IGRATION AND                                       )
 CUSTOM S ENFORCEMENT                                         )
                                                              )
HENRY LUCERO, EXECUTIVE ASSOCIATE DIRECTOR,                   )
 ENFORCEM ENT AND REM OVAL OPERATIONS, ICE                    )
                                                              )
THOM AS P. GILES, FIELD OFFICE DIRECTOR,                      )
 ATLANTA ICE FIELD OFFICE                                     )
                                                              )
KATRINA S. KANE, DEPUTY ASSISTANT DIRECTOR,                   )
 ICE AIR OPERATIONS                                           )
                                                              )
WILLIAM BARR, U.S. ATTORNEY GENERAL                           )
                                                              )
        RESPONDENTS.                                          )
                                                              )

                 JOINT MOTION TO STAY PROCEEDINGS,
     AND MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

        Pursuant to the inherent authority of the Court, Respondents and Petitioner respectfully

move to stay all proceedings in this matter. In support of this motion, the parties state:

BACKGROUND

1.      On August 17, 2020, Petitioner filed his Complaint [ECF No. 1] in this matter and filed

        an Amended Complaint [ECF No. 14] on September 1, 2020.

2.      On September 2, 2020, the Court held a telephonic motions hearing on Petitioner’s Motion

        for a Temporary Restraining Order [ECF NO. 6], which had been filed on August 18,
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     2020. The Court denied Petitioner’s Motion and instructed the parties to file a Joint Status

     Report on September 16, 2020, which the parties have done.

3.   Respondents’ pleading responsive to the Amended Complaint is due on October 20, 2020.

BASIS FOR STAY AND OTHER INFORMATION

4.   As the Court noted during the September 2, 2020, hearing and the parties confirmed in

     their September 16, 2020, Joint Status Report [ECF No. 18], Petitioner is proceeding

     through an administrative process regarding his removal and the determination of the

     country to which he will be removed.

5.   The parties have conferred and agree that a stay of proceedings is appropriate in this matter

     to permit the ongoing administrative proceedings to continue and to preserve the parties’

     and the Court’s resources, as the administrative proceedings may resolve the need for

     further judicial intervention and proceedings.

6.   Accordingly, the parties propose that the Court enter an Order that (i) stays all proceedings

     in this matter, including the requirement for Respondents to file a responsive pleading;

     and (ii) requires the parties to file a Joint Status Report every 30 days, beginnin g

     November 12, 2020.

7.   The parties’ agreement and request to a stay of proceedings is not intended to waive or

     otherwise negate any argument or defense that either party has previously asserted or may

     assert in the future in connection with the claims in this matter.

                                       *       *      *




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       WHEREFORE, based on the foregoing, the parties ask that the Court grant this motion

and stay proceedings.

Dated: October 15, 2020                         Respectfully submitted,

Hector G. Mora, Esq.                            Michael R. Sherwin
D.C. Bar No. 489889                             Acting United States Attorney
WMR Immigration Law Group, LLC
1789 Columbia Road NW, Ste. 200                 Daniel F. Van Horn
Washington, D.C. 20009                          D.C. Bar No. 924092
Ph: (202) 558-6515                              Chief, Civil Division
HMORA@WMR-LAW.COM
                                                By: /s/ April Denise Seabrook
Manuel J. Retureta, Esq.                         April Denise Seabrook
D.C. Bar No. 430006                              D.C. Bar No. 993730
RETURETA & WASSEM, P.L.L.C.                      Assistant United States Attorney
300 New Jersey Avenue, NW, Suite 900             555 4th Street, N.W.
Washington, D.C. 20001                           Washington, D.C. 20530
202.450.6119                                     (202) 252-2525
MJR@RETURETAWASSEM.COM                           April.Seabrook@usdoj.gov

Joaquin Perez, Esq.                             COUNSEL FOR RESPONDENTS
6780 Coral Way
Miami, Florida 33155
305.261.4000
JPLAW1@BELLSOUTH.NET

COUNSEL FOR PETITIONER




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WILLIAM BARR, U.S. ATTORNEY GENERAL                           )
                                                              )
       RESPONDENTS.                                           )
                                                              )

                                      PROPOSED ORDER

       Upon consideration of the parties’ Motion to Stay, and the full record in this matter, it is

hereby ORDERED that the Motion is GRANTED.                   All proceedings in this mattered are

STAYED and the parties are instructed to file a Joint Status Report every thirty days, with the first

report due on November 12, 2020.

       It is SO ORDERED.

________________________                      _______________________________________
Date                                          United States Judge
